Case 15-20697-jrs    Doc 263    Filed 02/10/17 Entered 02/10/17 17:05:31        Desc Main
                                Document      Page 1 of 4



                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                            GAINESVILLE DIVISION

IN RE:                                       :        CASE NO. 15-20697-JRS
                                             :
LAPRADE’S MARINA, LLC,                       :        CHAPTER 7
                                             :
                    DEBTOR.                  :

                   UNITED STATES TRUSTEE’S REP OR T OF
                UNDISPUTED CHAPTER 7 TRUSTEE ELECTION

       Pursuant to Federal Rule of Bankruptcy Procedure 2003(d)(1), Guy G. Gebhardt,

Acting United States Trustee for Region 21, files this report of an undisputed trustee

election.

       1.    On April 6, 2015, LaPrade’s Marina, LLC, (“Debtor”) filed a voluntary

petition under chapter 11 of the Bankruptcy Code. On or about November 17, 2016, the

Court entered an order denying Debtor’s motion to dismiss and granted the motion

filed by Multibank 2009-1 CRE Venture, LLC, (“Multibank”) to convert the case to

chapter 7 [Dkt. No. 232]. Pursuant to 11 U.S.C. § 701, the United States Trustee

appointed Betty A. Nappier to serve as interim chapter 7 trustee.

       2.    Pursuant to 11 U.S.C. § 341, the initial meeting of creditors in the chapter 7
case was scheduled January 9, 2017. In advance of the January 9 meeting, the United

States Trustee was advised that a trustee election would be requested and that the debtor’s

attorney had a conflict with the January 9th meeting date. Accordingly, the meeting was

rescheduled to February 6, 2017.

       3.    Counsel for the United States Trustee called to order the February 6
    Case 15-20697-jrs          Doc 263       Filed 02/10/17 Entered 02/10/17 17:05:31                 Desc Main
                                             Document      Page 2 of 4



    meeting. Present at the February 6 meeting were: David S. Weidenbaum, counsel for

    the United States Trustee; David W. Cranshaw, counsel for Multibank; Louis G.

    McBryan, counsel for Floating Docks Manufacturing Company (“Floating Docks”),

    Lake Perry Marina, LP, and Paul Haugen; and Dallas Hurston, a pro se creditor. Neither

    Debtor nor Debtor’s attorney appeared at the meeting. 1

            3.       On February 3, 2017, Floating Docks, Lake Perry Marina, L.P., and

    Paul Haugen filed an objection to the amended proof of claim filed by Multibank (the

    “Objection”) [Dkt. No. 260]. The basis of the Objection was that because Multibank did

    not seek nor obtain judicial confirmation of the foreclosure sale it had conducted during

    the case, it had no right to any deficiency claim against Debtor. (See Objection at ¶3).

    Multibank disputes the contention made in the Objection that it is not entitled to an

    unsecured deficiency claim.

            4.       At the February 6 meeting, Multibank called for a trustee election.

    Multibank filed an amended proof of claim, indicating that it is an unsecured creditor and

    is owed $1,353,827.45 (see Claim 5-2).

            5.       Floating Docks, Lake Perry Marina, L.P., and Paul Haugen, through their

    counsel, objected to Multibank’s status as an unsecured creditor and therefore its ability

    to request a trustee election pursuant to 11 U.S.C. § 702(b). Multibank disagreed with the

    position taken by the objecting creditors.

            6.       At the February 6 meeting, Dallas Hurston, holder of a proof of claim

    totaling $966,344.27, also called for a trustee election. (See Claim 4-1). The pa rt ies

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    On February 6, 2017, the court entered an order authorizing the withdrawal of Debtor’s counsel.
Case 15-20697-jrs     Doc 263     Filed 02/10/17 Entered 02/10/17 17:05:31       Desc Main
                                  Document      Page 3 of 4



agreed that Mr. Hurston’s claim, independent of Multibank’s claim, satisfied the twenty

(20) percent threshold set forth in section 702(b). As a result there was no dispute that

Mr. Hurston was eligible to request a trustee election.

       7.     The United States Trustee inquired of Multibank and Mr. Hurston as to

whether there were any nominations for trustee. Both Multibank and Mr. Hurston

nominated S. Gregory Hays to serve as trustee. Upon information and belief, Mr. Hays is

willing and able to serve as trustee.

       8.     Pursuant to section 702(c) the United States Trustee conducted an

election. Multibank voted its claim totaling $1,353,827.45 in favor of S. Gregory Hays.

Mr. Hurston voted his claim totaling $966,344.27 in favor of S. Gregory Hays.

       9.     There were three other creditors present at the February 6 meeting: Floating

Docks, Lake Perry Marina, L.P., and Paul Haugen. T h e p a r t i e s a g r e e d , h owever,

that Paul Haugen is an insider and w a s therefore i n e l i g i b l e to vote pursuant to

section 702(a)(3). Multibank and Mr. Hurston asserted that Lake Perry Marina, L.P., is

an insider. This assertion was disputed by the creditor. Floating Docks voted its claim

totaling $510,173.19 (see Claim 7-1) in favor of the interim trustee, Betty A. Nappier.

If Lake Perry Marina, L.P.’s claim of $414,180 were counted, along with Floating

Docks’ claim of $510,173.19, the total vote in favor of retaining the interim trustee

would be $924,323.19, which is less than the $966,344.27 Dallas Hurston claim, which

was cast in favor of S. Gregory Hays.

       10.    The total amount of claims (including the disputed Multibank claim) is

$5,508,028.05. Twenty percent of that total is $1,101,605.61.        Multibank’s claim of
Case 15-20697-jrs     Doc 263    Filed 02/10/17 Entered 02/10/17 17:05:31      Desc Main
                                 Document      Page 4 of 4




$1,353,827.45 would exceed the twenty percent threshold.

       11.    The total amount of claims not including the disputed Multibank claim

totals $4,154,200.60. Twenty percent of that total is $830,840.12. Mr. Hurston’s claim

of $966,344.27 exceeds that total.

       12.    It appears to the United States Trustee that an election was legitimately

requested and that based upon the claims voted at the election S. Gregory Hays was

elected trustee in the case in an undisputed election.

       13.    The name and address of the elected trustee is: S. Gregory Hays; Hays

Financial Consulting, LLC; 3343 Peachtree Road, Suite 200; Atlanta, GA 30326.

                                                 GUY G. GEBHARDT
                                                 ACTING UNITED STATES TRUSTEE
                                                 REGION 21

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